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                                                                                             FILED
                        IN THE UNITED STATES DISTRICT COURT                                  CLERK
                       FOR THE EASTERN DISTRICT OF NEW YORK
                                                                                12:13 pm, Feb 15, 2022
                                                                                   U.S. DISTRICT COURT
  SOCIAL POSITIONING INPUT                                                    EASTERN DISTRICT OF NEW YORK
  SYSTEMS, LLC,                                                                    LONG ISLAND OFFICE
                                                   CASE NO. 2:22-cv-00150-JMA-AYS
                         Plaintiff,
                 v.
                                                        JURY TRIAL DEMANDED
  FORWARD THINKING SYSTEMS
                                                               PATENT CASE
  LLC

                         Defendant.

                            JOINT STIPULATION OF DISMISSAL

          Plaintiff Social Positioning Input Systems, LLC, and Defendant Forward Thinking

   Systems, LLC, by their respective undersigned counsel, hereby STIPULATE and AGREE as

   follows:

          1.    All claims asserted by the Plaintiff in this Action are dismissed with prejudice

   and all counter-claims asserted by the Defendant in this Action are dismissed without prejudice

   under Fed. R. Civ. P. 41(a)(1)(A)(ii);

          2.    Each party shall bear its own costs and attorneys’ fees with respect to the matters

   dismissed hereby;

          This Stipulation and Order shall finally resolve the Action between the parties.




  JOINT STIPULATION OF DISMISSAL                                                              |1
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  Dated: February 14, 2022           Respectfully submitted,

                                     By: /s/Jay Johnson
                                         JAY JOHNSON (pro hac vice pending)
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                                      SOCIAL POSITIONING INPUT SYSTEMS, LLC

                                     FISH & RICHARDSON P.C.

                                     By: /s/ Neil J. McNabnay
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                                      ATTORNEYS FOR DEFENDANT
                                      FORWARD THINKING SYSTEMS LLC


      Dated: Central Islip, NY
             February 15, 2022

      Case closed.
      SO ORDERED.
      /s/ JMA, USDJ




  JOINT STIPULATION OF DISMISSAL                                                   |2
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                                   CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on February 14, 2022, a true and correct copy of the

  foregoing document was filed with the Clerk of the Court using the Court’s CM/ECF system,

  which will send notification of such filing to all counsel of record.


                                                        /s/Jay Johnson
                                                        JAY JOHNSON (pro hac vice pending)




  JOINT STIPULATION OF DISMISSAL                                                            |3
